Case: 1:15-cv-06151 Document #: 33-9 Filed: 03/28/16 Page 1 of 1 PagelD #:300 yyy. —=

° Case: 1:15-cv-06151 Document #: 1 Filed: 07/13/15 Page 24 of 41 °° SS pee.
. : Kino DEPARTMENT OF CORRECTIONS < . “3

 

 

 

 

 

 

 

. OFFENDER'S GRIEVANCE
, ‘Tate: Offender: ryt IDS:
a- 9. "| y . | (Please Prin Falanzo LUixgeon K8354 7
Present Facility: ‘ Facility where grievance
Stern \e. _ leuue occurred: aisle le
WATURE OF GRIEVANCE:
i 1] Personal Property (] MallHandiing (1) Restoration afGoodTima  (] Disabitity )
Sasstatt Conduct Ci Dietary ~ LJ Medical Treatment — EC] HIPAA th
[) Transfer Denlal by Facifity O Transfer Denial by Transfer Coordinator : _ ether « {epoxy} Lean’ ane beng
! =] Disciplinary Report: f i.
. Date of Report Feoliity where lmaued

Note: Protective Custody Denials may be grieved immediately via the local administration oni the protective custody status notification,

; Complete: Attach & copy of any pertinent document (auch aa a Diselpiinary Report, Shakedown Record, ete) and send to:

Counssiot, unless the issue Invaives discipline, ig deemed an emergency, or ia subject to direct review by the Administrative Review Board.
Grievence Officer, only If the Iseue.invoives discipling at the prasant facility oF Issue not resolved.by Counsator. :
Chief Admintatative Officer, only if EMERGENCY grievance,

. Administrative Review Board, only if the lasue involves transfer denial by the Transfar Coordinator, prolactive custody, Involuntary
administration of psychotropic drugs, ‘seves from another facility except personal property issues, or saves not resolved by the Chiat
Administrative Officer.

Brief Summary of Grlavance: Bn taal) IB Cléd A Grevanee, about ent Li Ag
CondiMians, LO Ne’ sas 1A CesL i152. ane 452 4 tad F- House, A Sint _
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- Check only Hf thig is. an GENCY ¢ grievance due to asubstential tisk of Smmient personal injury or other serioue oF irreparable harm to seit, ;
Peleg? V hho: Kqa544 32 9 14
“ itanders Blgasture , * IDE Baig

{Contras on reverse. side if necessary}

 

 

 

Counsalor’s Responee iit applicable)

Revelved: Sif f GAL? ( Send directly to Grievance Officer (1 Outside jurisdiction of this facitty, Send ip

Administrative Review Board, F.0. Box 19277,
response: (One 2. Adve so bebo cE © ihe
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Counselors Siinatuns Date of Respones

 

 

 

 

 

 
